       Case 6:99-cr-06089-CJS       Document 208     Filed 03/24/11    Page 1 of 16




                     UNITED STATES DISTRICT COURT
                    W ESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA
                                                               DECISION AND ORDER
-vs-
                                                               99-CR-6089 CJS
DENNIS FORBES,                                                 08-CV-6508 CJS
                           Defendant
__________________________________________


                                     APPEARANCES

For Defendant:              Dennis Forbes, Pro se
                            10048-055
                            USP Allenwood
                            P.O. Box 3000
                            W hite Deer, Pennsylvania 17887

For the United States:      Frank Sherman, A.U.S.A.
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                            100 State Street, Room 620
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                                     INTRODUCTION

       Now before the Court is Dennis Forbes’ (“Defendant” or “Forbes”) pro se application

to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. For the reasons

set forth below, the application is denied.

                                      BACKGROUND

       The facts of this case were accurately set forth in the Government’s briefs, and in

other documents in the record, as follows:

       On September 16, 1999, . . . Forbes was charged in an Indictment with
       violations of Title 21, United States Code, Section 846 [conspiracy to
       distribute and possess with intent to distribute marijuana and 50 grams or
       more of cocaine base - Count One], and Title 18, United States Code, Section


                                              1
Case 6:99-cr-06089-CJS        Document 208       Filed 03/24/11     Page 2 of 16




924(c) [possession of a firearm in connection with a drug trafficking crime -
Count Two]. On March 23, 2000, a Second Superseding Indictment was
returned in that case which, with respect to Forbes, charged the same
violations. Forbes was also charged in that Indictment . . . with a violation of
Title 21, United States Code, Section 861 [use of a minor to commit a drug
trafficking crime - Count Three].

On November 6, 2000, the trial of Forbes and co-defendant Kevin Pierre on
the Second Superseding Indictment . . . began before this Court and a jury.
The trial lasted until November 17, 2000, when the jury returned a verdict of
guilty against Forbes on Counts One and Three and against Pierre on Counts
One and Four. The jury was unable to reach a verdict on Count Two against
Forbes. Petitioner was represented through his trial by Michael P. Schiano,
Esquire [(“Schiano”)]. On June 25, 2001, this Court received and granted
attorney Schiano's motion to be relieved as counsel for Forbes.

On January 15, 2002, now represented by M. Kirk Okay, Esquire [(“Okay”)],
Forbes was sentenced . . . to concurrent terms of life imprisonment on Counts
One and Three, a total fine in the amount of $2,000 ($1,000 on Count One
and $1,000 on Count Three) and a total special assessment in the amount of
$200. After sentence was imposed on Forbes, this Court granted the
government's motion to dismiss Count Two[.]

Forbes appealed from his judgment of conviction[.] The Second Circuit
affirmed the conviction on January 29, 2004, in an opinion, published at 356
F.3d 478, and an unpublished Summary Order[.] Forbes filed a petition in the
Supreme Court for a writ of certiorari, which was granted on January 24,
2005. Forbes v. United States, 543 U.S. 1100 (2005). The judgment of the
Second Circuit was vacated by the Supreme Court and the case remanded
to the Second Circuit for further consideration in light of the decision in United
States v. Booker, 543 U.S. 220 (2005). Following the Supreme Court's
decision, the Second Circuit issued its mandate on November 10, 2005,
remanding the case to this Court for further proceedings in conformity with
United States v. Crosby, 397 F.3d 103 (2d Cir. 2005), and making the
disposition in the opinion and order issued on January 29, 2004, fully effective
except to the extent that it was inconsistent with the Crosby remand being
ordered.

This Court, after obtaining the views of counsel and considering all of the
sentencing factors listed at 18 U.S.C. § 3553(a), declined to order
resentencing as to petitioner in a decision and order dated April 12, 2006.
Forbes appealed from this decision[.] The Court of Appeals again affirmed
the conviction on November 1, 2007. United States v. Forbes, 253 Fed.Appx.
50 (2d Cir. 2007).



                                        2
      Case 6:99-cr-06089-CJS        Document 208       Filed 03/24/11     Page 3 of 16




       On March 18, 2008, Forbes filed a motion in this Court for retroactive
       application of the Sentencing Guidelines to his crack cocaine offense . . .
       pursuant to Title 18, United States Code, Section 3582(c)(2). This motion was
       denied by this Court on July 11, 2008. [Forbes appealed, and on August 10,
       2010, the Second Circuit affirmed. See, U.S. v. Forbes, No. 09-1011-cr, 389
       Fed.Appx. 57, 2010 W L 3125217 (2d Cir. Aug. 10, 2010)].

       On November 13, 2008, Forbes filed this motion pursuant to 28 U.S.C. §
       2255 seeking to have this Court vacate, set aside or correct the sentence
       imposed in [this case.] The Motion attacks his conviction on six grounds. The
       first three grounds raise allegations of ineffectiveness of counsel relating to
       pre-trial proceedings and the trial. The last three grounds raise allegations of
       ineffectiveness of counsel at sentencing and on direct appeal.

Government’s Response [#197] at 1-6 (citations to exhibits omitted).             Specifically,

Defendant contends the following: 1) Schiano was ineffective for failing to properly advise

Defendant whether to plead guilty; 2) Schiano was ineffective for failing to seek severance

from his co-defendant Pierre; 3) Schiano was ineffective because he did not interview or call

as a witness Damon Shallow (“Shallow”), who allegedly would have testified at trial that

drugs and a gun found at 82 Eddy Street in Rochester were not connected to Defendant;

4) Schiano was ineffective at sentencing, and Okay was ineffective on appeal, for failing to

argue that the Government had not proven that the cocaine involved was crack cocaine

base; 5) Schiano and Okay were ineffective for failing to challenge the Court’s calculations

under the advisory sentencing guidelines based on facts that were not found by the jury at

trial beyond reasonable doubt; and 6) Schiano and Okay were ineffective for failing to

challenge sentencing enhancements that constituted “double counting.”

                                       DISCUSSION

       Section 2255 provides, in relevant part, as follows:

       A prisoner in custody under sentence of a court established by Act of
       Congress claiming the right to be released upon the ground that the sentence
       was imposed in violation of the Constitution or laws of the United States, or


                                              3
      Case 6:99-cr-06089-CJS         Document 208      Filed 03/24/11     Page 4 of 16




       that the court was without jurisdiction to impose such sentence, or that the
       sentence was in excess of the maximum authorized by law, or is otherwise
       subject to collateral attack, may move the court which imposed the sentence
       to vacate, set aside or correct the sentence.

28 U.S.C. § 2255. The Court may dismiss a section 2255 petition without conducting a

hearing if the petition and the record "conclusively show" that the defendant is not entitled

to relief. 28 U.S.C. § 2255. In other cases, “[a] district court has a wide variety of tools

available to it in developing the record during habeas proceedings.” Pham v. United States,

317 F.3d 178,180 (2d Cir. 2003). Specifically,

       [i]t is within the district court’s discretion to determine whether a hearing is
       warranted. Among the wealth of materials available to the district court at its
       direction are the trial record, letters, documents, exhibits, affidavits and
       written interrogatories. After expanding the record, the district court then
       decides if an evidentiary hearing also is required. Our precedent disapproves
       of summary dismissal of petitions where factual issues exist, but it permits a
       ‘middle road’ of deciding disputed facts on the basis of written submissions.

Id. at 184 (citations omitted); see also, Faison v. McKinney, No. 07 Civ. 8561(JGK), 2009

W L 4729931 at *16 (S.D.N.Y. Dec. 10, 2009) (“W hen a petitioner's affidavit alleging that his

defense counsel denied him his right to testify is ‘self-serving and uncorroborated’ and

defense counsel makes a sufficiently detailed and credible affirmation to the contrary, a

district court can deny a 28 U.S.C. § 2255 petition for habeas relief without a hearing,

because the petitioner has not shown that his counsel made a serious error under

Strickland's first prong.”) (citations omitted).

       In the context of a claim based on alleged ineffective assistance of counsel, the

Defendant

       need establish only that he has a “plausible” claim of ineffective assistance
       of counsel, not that he will necessarily succeed on the claim. Rule 4(b) of the
       Rules Governing § 2255 Proceedings further provides that “[i]f it plainly
       appears from the motion, any attached exhibits, and the record of prior


                                                   4
      Case 6:99-cr-06089-CJS        Document 208        Filed 03/24/11     Page 5 of 16




       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion.” Rules Governing § 2255 Proceedings for the United
       States District Courts, Rule 4(b), 281 U.S.C. foll. § 2255.

       The procedure for determining whether a hearing is necessary is in part
       analogous to, but in part different from, a summary judgment proceeding. The
       petitioner's motion sets forth his or her legal and factual claims, accompanied
       by relevant exhibits: e.g., an affidavit from the petitioner or others asserting
       relevant facts within their personal knowledge and/or identifying other sources
       of relevant evidence. The district court reviews those materials and relevant
       portions of the record in the underlying criminal proceeding. The court then
       determines whether, viewing the evidentiary proffers, where credible, and
       record in the light most favorable to the petitioner, the petitioner, who has the
       burden, may be able to establish at a hearing a prima facie case for relief. If
       material facts are in dispute, a hearing should usually be held, and relevant
       findings of facts made.
                                               ***
       Moreover, a district court need not assume the credibility of factual
       assertions, as it would in civil cases, where the assertions are contradicted
       by the record in the underlying proceeding.

       Indeed, for this reason, we have also held that when the judge that tried the
       underlying proceedings also presides over the Section 2255 motion, a
       less-than full-fledged evidentiary hearing may permissibly dispose of claims
       where the credibility assessment would inevitably be adverse to the petitioner.

Puglisi v. U.S., 586 F.3d 209, 213-214 (2d Cir. 2009) (citations omitted).

       In the instant case, as discussed further below the Court did not conduct a full

testimonial hearing, but instead supplemented the record with affidavits from Schiano and

Defendant. See, Sparman v. Edwards, 154 F.3d 51, 52 (2d Cir. 1998) (“W e believe that a

district court facing the question of constitutional ineffectiveness of counsel should, except

in highly unusual circumstances, offer the assertedly ineffective attorney an opportunity to

be heard and to present evidence, in the form of live testimony, affidavits, or briefs.”)

(citation omitted).

       Defendant argues that Schiano did not adequately advise him on whether to accept

the Government’s plea offer of a 25-year sentence. Clearly, “[d]efense counsel have a


                                              5
      Case 6:99-cr-06089-CJS         Document 208       Filed 03/24/11     Page 6 of 16



constitutional duty to give their clients professional advice on the crucial decision of whether

to accept a plea offer from the government.” Pham v. U.S., 317 F.3d at 182 (citing Boria

v. Keane, 99 F.3d 492, 498 (2d Cir.1996); other citation omitted). In support of his claim,

Defendant states:

       Although counsel advised [Defendant] of the government’s offer, he failed to
       give [Defendant] any advice or suggestion on how to deal with the proffered
       plea bargain. Counsel did not attempt to persuade [Defendant] that it was in
       his best interest to accept the plea bargain. Additionally, counsel did not
       attempt to contact [Defendant’s] family to help persuade him not to pursue
       the suicidal course of going to trial. If counsel had advised [Defendant] that
       he was on a suicide course by taking this case to trial, [Defendant] would
       have accepted the government’s proposed plea bargain.

§ 2255 Motion at 4-5. Defendant further states:

       Counsel advised [Defendant] that he thought he could beat the case.
       Counsel was more interested in trying to win a trial than attempting to
       convince [Defendant] that it was in his best interest to take the plea bargain.
       Counsel did not go over the evidence with [Defendant] during the plea
       negotiations to point out how strong the government’s case was.

Defendant’s Traverse at 1-2.

       On this point, the Court recalls that shortly prior to the start of his trial, Defendant

agreed to plead guilty in exchange for an offered sentence of nineteen years. However,

the U.S. Attorney subsequently withdrew that offer and indicated that Defendant would have

to serve 25 years. Defendant rejected that offer, despite knowing that he faced a possible

sentence of life imprisonment if convicted. Subsequently, Defendant was convicted at trial,

and the Court sentenced him to life in prison.

       At the Court’s direction, Schiano filed an affidavit responding to Defendant’s

contentions, and stating:

       [D]uring the course of representation of the Defendant, we had numerous
       discussions about potential consequences of going to trial. . . . [T]here was
       a potential offer to nineteen (19) years which the Defendant agreed to accept.

                                               6
       Case 6:99-cr-06089-CJS            Document 208          Filed 03/24/11       Page 7 of 16



        I indicated to Defendant that it would be in his best interest to take the plea
        with a nineteen (19) year sentence. However, the United States Attorney
        withdrew that offer and indicated that the Defendant would have to serve
        twenty-five (25) years. . . . [A]fter discussions with the Defendant, including
        the possibility of a life sentence, the Defendant, after careful review of the
        offer and against attorney advice, wanted to proceed to trial. I never advised
        the Defendant that I would ‘beat the case.’ The government then offered
        twenty-five (25) years. I did go over the evidence with the Defendant
        regarding the strength of the case. I advised the Defendant of all the
        consequences of going to trial and the possible sanctions. It was against my
        advice that he went to trial. . . . [T]he Defendant knew the risks of going to
        trial and knew the strengths of the government’s case.

Schiano Affidavit [#205]. In reply to Schiano’s affidavit, Defendant submitted an unsworn

response [#207], in which he now maintains that Schiano failed to explain whether

accepting the government’s plea offer would have involved serving a full twenty-five years,

or whether he would have served less than that due to good time credit, and that Schiano

failed to seek input from Defendant’s family. See, id. at 2 (“Petitioner’s counsel did not

explain whether he would have to serve 25 years or 21.3 years based on good time. Nor

did counsel contact Petitioner’s family to help persuade him to accept the plea bargain.”).

The Court observes, however, that Defendant’s contention regarding the applicability of

good-time credit is contradicted by the record.1

        Based on these submissions and the entire record, the Court finds that it is not

necessary to conduct a full evidentiary hearing on this point. The Court finds that Schiano’s

affidavit is credible, while Defendant’s petition and unsworn response to Schiano’s affidavit

are self-serving, uncorroborated, and not credible. Defendant was aware that he faced a


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          Defendant was advised on the record that the twenty-five year sentence involved in the plea offer
would be reduced by good-tim e credit. See, transcript of appearance on Novem ber 3, 2000 (“THE
COURT: . . . And essentially what you are being offered is 25 years in prison. That is a lot of tim e. You
told m e you are 32. By the tim e you would get out you would be close to what, 57? Although, I think there
is some good time credit. MR. SHERMAN [AUSA]: Yes, there is. THE COURT: So let’s even say you
are 55 or 54. That is still a long tim e. On the other hand, you are hearing both sides say that if you are
convicted of everything, you could be exposed to life.”) (em phasis added).

                                                     7
       Case 6:99-cr-06089-CJS              Document 208           Filed 03/24/11        Page 8 of 16



possible life sentence if convicted, and he chose to reject the twenty-five year plea offer,

despite having previously agreed to accept the nineteen year plea offer. Given the strength

of the Government’s case, which was apparent,2 the Court has no doubt that Schiano

advised Defendant to accept the twenty-five year plea offer. Defendant’s claim that Schiano

was ineffective for failing to advise him whether to accept the plea offer is denied.

        Defendant next contends that Schiano was ineffective for failing to interview Shallow

prior to trial, and for failing to call Shallow to testify at trial. Defendant maintains that

Schiano’s conduct was ineffective, since Shallow would have testified that Defendant was

not involved with the drugs and gun found at 82 Eddy Street. Notably, though, at Shallow’s

sentencing for possessing a firearm found at 82 Eddy Street, he admitted under oath that

he was selling drugs for Defendant at 82 Eddy Street at the time of his arrest. See,

Government’s Response, Ex. B. at 10.3 Nevertheless, despite such prior sworn statement,

Shallow subsequently stated, in an affidavit dated June 6, 2001:

        On Nov, 2 2000 [sic] I plead guilty for possession of firearms only in federal
        court, even though I was arrested with guns and drugs. But, now I am taking
        full responsibility for the gun and drugs I got arrested with on September 29,
        1998. I was in the house on 82 Eddy Street in Rochester, New York at the


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          Defendant alleges that Schiano failed to advise him of the strength of the Governm ent’s case.
By im plication, Defendant contends that he agreed to a nineteen-year plea offer without having been
advised of the strength of the governm ent’s case. Such assertion is not plausible.

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           Shallow, aka “Rom ello,” was indicted, along with Defendant, W inston Banner (“Banner”), and
Kevin Pierre (“Pierre”), in the Second Superceding Indictm ent in this case. However, four days prior to
trial Shallow pled guilty to possession of an unregistered firearm . Shallow was represented at all relevant
tim es by Donald M. Thom pson, Esq. Regarding the house on Eddy Street, Pierre gave a statem ent to
police, in which he adm itted that he sold crack cocaine for Defendant from a drug house at 156 York
Street in Rochester, and that Shallow/Rom ello also sold drugs for Defendant from a drug house on Eddy
Street: “I know D [Defendant] had another drug house on Eddy Street in the upstairs, a dude nam ed
Rom ello sold from there.” See, Transcript of proceedings on Novem ber 3, 2000. The Court ruled that
Pierre’s statem ent could be adm itted at trial, with the references to Defendant redacted, and with a lim iting
instruction. Moreover, at Shallow’s sentencing, he adm itted under oath that he sold drugs for Defendant
from 82 Eddy Street. See, Governm ent’s Response, Defendant’s Sentencing Transcript, Exhibit B at 10
(“At sentencing in this m atter Shallow did acknowledge that he was selling drugs for you out of 82 Eddy
Street at the tim e of his arrest, and did so indicate under oath.”).

                                                       8
      Case 6:99-cr-06089-CJS          Document 208      Filed 03/24/11    Page 9 of 16



       time of the arrest. This affidavit is written with the intentions of making sure
       that the gun and drugs that I obtained by my free will have no effect on any
       individual other than myself. No one influenced me into possessing the drugs
       and the guns. But me and no one other than myself should be punished for
       it.

§ 2255 Motion, Ex. B. In light of Shallow’s contrary prior sworn testimony, the Court

naturally views this affidavit with suspicion, and, after due consideration, finds that it does

not warrant a hearing. See, U.S. v. Manfredi, 447 F.Supp. 847 (S.D.N.Y. 1978) (W einfeld,

J.) (Holding that unsupported retraction by a witness of his trial testimony should be viewed

with suspicion, and is not sufficient to warrant a hearing on a § 2255 motion.). Moreover,

Shallow’s affidavit fails to mention Defendant, or to indicate that Shallow would have

testified favorably to Defendant at Defendant’s trial. Instead, Shallow’s affidavit merely

indicates that “now,” he has decided to take full responsibility for the guns and drugs found

at 82 Eddy Street.

       Moreover, again at the Court’s direction, Schiano provided an affidavit, in which he

states that Shallow’s attorney told him that Shallow would not testify for Defendant:

       [T]hrough conversations with Donald M. Thompson, attorney for Damon
       Shallow, it was indicated that Shallow was not going to offer any evidence in
       favor of the Defendant. . . . [C]learly Damon Shallow was not going to be an
       effective witness if called for the defense and would not have been a credible
       witness if called for the Defendant. . . . I did review the evidence regarding
       Shallow and it was in the best interest of the Defendant not to call Shallow to
       testify at trial.

Schiano Aff. [#205] at ¶ ¶ 6-8. In his unsworn response, Defendant states that Schiano

should have insisted upon speaking directly to Shallow, and that while Shallow may have

sold drugs for him, it “was not during the time frame of the charged conspiracy in this case.”

Def. Stmt. [#207] at 3.

       In this regard, it is clear that


                                              9
     Case 6:99-cr-06089-CJS         Document 208        Filed 03/24/11      Page 10 of 16



       [t]he decision whether to call a particular witness at trial is a tactical decision
       which clearly falls within the ambit of trial strategy[,] United States v.
       Nersesian, 824 F.2d 1294, 1321 (2d Cir.1987)[, and that] [s]uch tactical
       decisions, if made reasonably, will not form the basis of a claim of ineffective
       counsel. Id.; United States v. Garguilo, 324 F.2d 795, 797 (2d Cir.1963).

Mesterino v. U.S., No. 96 CIV. 2114 MJL, 90 CR. 276 MJL, 1997 W L 528047 at *5

(S.D.N.Y. Aug. 27, 1997). Here, it was reasonable for Schiano to rely upon Thompson’s

statement to him that Shallow would not testify favorably for Defendant. See, Culbreath v.

Bennett, 2004 W L 1811394 at *14 (W .D.N.Y. Aug. 11, 2004) (“[E]ven if trial counsel could

have contacted Highsmith directly, he was justified in relying on the representations of

Highsmith's attorney.”) (citing Mesterino v. United States, 1997 W L 528047 at *6). Similarly,

it was reasonable for Schiano to conclude that Shallow would not have been a credible

witness in any event. Consequently, Defendant has not shown that Schiano was ineffective

with regard to Shallow.

       Defendant also alleges that Schiano was ineffective for failing “to provide an

adequate basis” for excluding at trial a statement that Pierre made to police, in which he

admitted selling crack cocaine from 156 York Street. Defendant contends that there was

“prejudicial spillover” from the Government’s case against Pierre, and specifically, from the

admission of Pierre’s statement. Defendant argues that Pierre’s statement,

       was highly prejudicial and denied Petitioner a fair trial. The only evidence
       against [Defendant] as to whether he operated a drug house at York Street
       was from government witness Terrance Melford who was severely
       impeached. The above statement [from Pierre] corroborated Melford’s
       testimony. Moreover, counsel was ineffective when he failed to provide an
       adequate basis for his motion to sever defendants. Counsel failed to argue
       a prejudicial spillover effect, or that a joint trial also violated [Defendant’s]
       Sixth Amendment right to confrontation.

§ 2255 Motion at 7. However, this argument lacks merit. Pierre’s redacted statement did

not have a prejudicial spillover effect, because it did not refer to Defendant, either directly

                                               10
      Case 6:99-cr-06089-CJS           Document 208          Filed 03/24/11       Page 11 of 16



or indirectly, and because the Court gave a limiting instruction. See, U.S. v. Yousef, 327

F.3d 56, 150 (2d Cir. 2003) (“Various remedies short of severance are available to the

district court, including, inter alia, issuing limiting instructions to the jury, empaneling

separate juries, or redacting out-of-court statements that refer to a codefendant by name.”).

Defendant’s conclusory assertion that the introduction of Pierre’s redacted statement was

“highly prejudicial” and “denied him a fair trial” does not establish prejudicial spillover.

Moreover, contrary to Defendant’s suggestion, in addition to opposing the introduction of

Pierre’s statement on the grounds of prejudicial spillover, Schiano argued that the statement

should be kept out pursuant to Bruton v. U.S., 391 U.S. 123, 88 S.Ct. 1620 (1968),4 since

he correctly anticipated that Pierre would not testify at trial, and therefore would not be

subject to cross-examination. The Court denied Schiano’s application, finding that redaction

of the reference to Defendant eliminated any Bruton issue. Def. Response, Ex. E, Transcript

of Appearance on November 3, 2000, at p. 12; see also, U.S. v. Jass, 569 F.3d 47, 55-56

(2d Cir. 2009) (Observing that, in Richardson v. Marsh, 481 U.S. 200, 107 S.Ct. 1702

(1987), the Supreme Court held that “the Confrontation Clause is not violated by the

admission of a nontestifying codefendant's confession with a proper limiting instruction

when the confession is redacted to eliminate not only the defendant's name, but any

reference to his or her existence.”) (citation and internal quotation marks omitted).

Defendant’s cryptic suggestion that Schiano “failed to provide an adequate basis for his

severance motion” does not establish ineffective assistance of counsel. § 2255 Motion at


       4
         See, Schneble v. Florida, 405 U.S. 427, 429-430, 92 S.Ct. 1056, 1058 (1972) (“The Court held in
Bruton that the adm ission of a confession of a codefendant who did not take the stand deprived the
defendant of his rights under the Sixth Am endm ent Confrontation Clause, when that confession implicated
the defendant.”) (em phasis added).




                                                   11
     Case 6:99-cr-06089-CJS                     Document 208    Filed 03/24/11   Page 12 of 16



9.

       Defendant further contends that Schiano and Okay were ineffective for failing to

argue that the Government had not proven beyond a reasonable doubt that the cocaine

involved was crack cocaine, as opposed to some other type of cocaine base. On this point,

Defendant states:

       In this case, the substance was never tested further than the generic cocaine
       base identification. In order to establish that the substance was ‘crack,’ more
       sophisticated testing was needed to prove that the substance was prepared
       or manufactured with sodium bicarbonate. Hence the government could not
       carry its burden, and [Defendant’s] counsel was ineffective for failing to argue
       at sentencing and on direct appeal that the government had failed to prove
       that the substance was ‘crack’ cocaine as defined by the guidelines and
       Section 841(b)(1)(A)(iii).

§ 2255 Motion at 18-19. However, the Court disagrees, since there was ample evidence

introduced that the cocaine base being sold as part of the conspiracy was crack cocaine.

For example, Pierre’s statement specifically indicated that he sold “crack cocaine” for two

years from 156 York Street. Additionally, Melford testified that he conspired with Defendant

to sell “crack cocaine,”5 and that he in fact sold “crack” cocaine and marijuana for Defendant

at the York Street drug house.6 Jamal McGregor (“McGregor”) also testified to selling crack

cocaine as part of the conspiracy.7 Also, during jury instructions, the Court instructed the

jury that during the trial crack cocaine had been referred to as cocaine base.8

Consequently, counsel was not ineffective for failing to argue that Defendant should be

sentenced according to the powder cocaine guidelines. See, U.S. v. Colon, Nos. 09-1559-cr


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           Trial Transcript, Vol. II, at 475.

       6
           Trial Transcript, Vol. III, at 482, 494.

       7
           Trial Transcript, McGregor Testim ony [#69] at 15, 33.

       8
           Trial Transcript, Vol. III at 1157.

                                                       12
      Case 6:99-cr-06089-CJS              Document 208          Filed 03/24/11         Page 13 of 16



(L), 09-2147-pr (con), 09-2188-cr (con), 2010 W L 4910134 at *2 (2d Cir. Dec. 3, 2010)

(counsel not ineffective where evidence established that the cocaine base was crack

cocaine) (unpublished)9 ; see also, Mills v. U.S., No. 09 Civ. 4090(JSR)(MHD), 2010 W L

3825732 at *14-15 (S.D.N.Y. May 20, 2010) (counsel was not ineffective for failing to argue

for a sentence based on powder cocaine, since “there was never a dispute that the form of

cocaine that Mills was charged with conspiring to distribute was ‘crack’”. . . . In sum, there

is no question that Mills was aware that the charge against him related to the controlled

substance known as ‘crack’ and not any other type of cocaine base. Therefore, he cannot

claim that counsel was ineffective for not arguing for a reduction in sentence pursuant to

Appendix C, Amendment 487 of the Guidelines.”), report and recommendation adopted by

2010 W L 3825733 (S.D.N.Y. Sep. 30, 2010).

        Defendant next argues that Okay was ineffective, at sentencing and on appeal, for

failing to argue that the Court violated his Fifth Amendment Due Process 10 rights by basing

his sentence on facts not found by the jury. On this point, Defendant argues that, “[t]he Due

Process Clause is implicated whenever a judge determines a fact by a standard lower than

‘beyond a reasonable doubt’ if that factual finding would increase the punishment above the

lawful sentence that could have been imposed absent that fact.” § 2255 Motion at 25. The

Government accurately summarizes Defendant’s argument as follows:

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          In Colon, the Circuit Court stated: “Ortiz contends that counsel was ineffective in failing to argue
that his Sentencing Guidelines range should have been calculated by reference to powder cocaine rather
than crack cocaine because “cocaine base,” the drug to which he pleaded guilty, is a vague term that can
reference either form ulation. See U.S.S.G. § 2D1.1. W e disagree. As the district court observed, the
cocaine base at issue was identified s crack cocaine no less than nineteen tim es during Ortiz's plea
colloquy. Thus, there was no vagueness in the crim e as applied to Ortiz, and no objective
unreasonableness in counsel's failure to seek a Guidelines calculation based on powder cocaine.” Id.
(citation om itted)

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           Defendant adm its that he already unsuccessfully argued this sam e idea as a Sixth Am endm ent
violation as part of his direct appeal. § 2255 Motion at 23.

                                                      13
     Case 6:99-cr-06089-CJS        Document 208       Filed 03/24/11     Page 14 of 16



       [Defendant] contends that the Due Process Clause of the Fifth Amendment
       requires that a defendant be sentenced only in accordance with facts proved
       beyond a reasonable doubt. He contends that because this Court set the
       base offense level for his drug conspiracy offense using a drug quantity level
       which the Court found by a preponderance of the evidence, and because the
       applicability of other adjustments [(leadership role, use of a minor)] under the
       Guidelines was determined using a preponderance standard, his sentence
       violated the Due Process Clause.

Govt.’s Response at 21. However, Defendant’s argument lacks merit, and his attorneys

were not ineffective for failing to raise it at sentencing and on appeal.          Regarding

sentencing, the Second Circuit has stated that, “after [U.S. v.] Booker, [543 U.S. 220, 125

S.Ct. 738 (2005),] [a] district courts' authority to determine sentencing factors by a

preponderance of the evidence endures and does not violate the Due Process Clause of

the Fifth Amendment.” U.S. v. Vaughn, 430 F.3d 518, 525 (2d Cir. 2005). Consequently,

a district court may find facts relevant to sentencing by a preponderance of the evidence,

“as long as the judge does not impose (1) a sentence in the belief that the Guidelines are

mandatory, (2) a sentence that exceeds the statutory maximum authorized by the jury

verdict, or (3) a mandatory minimum sentence under § 841(b) not authorized by the verdict.”

Id. at 527 (citation omitted).

       In this case, the jury convicted Defendant of, inter alia, conspiring to possess with

intent to distribute, and to distribute, 50 grams or more of a mixture or substance containing

cocaine base, and a mixture of substance containing marijuana, for which the maximum

sentence was life imprisonment. See, 21 U.S.C. § 841(b)(1)(A)(iii). Moreover, although at

sentencing the Court found, by a preponderance of the evidence, that the total amount of

cocaine base involved was 3.5 kilograms and adjusted Defendant’s offense level

accordingly, the Court advised Defendant that such finding did not increase the statutory

maximum sentence authorized by the jury verdict. See, Government’s Response [#197], Ex.

                                             14
      Case 6:99-cr-06089-CJS              Document 208           Filed 03/24/11        Page 15 of 16



B., Sentencing Transcript at 7 (THE COURT: “[Y]our statutory maximum of life is not being

increased by the Court’s sentencing determination as to drug quantity. Rather, the jury

found beyond a reasonable doubt that you conspired to possess with intent to distribute and

to distribute 50 grams or more of cocaine base, which establishes the maximum sentence

at life.”). Therefore, Defendant suffered no Fifth Amendment Due Process violation, and

counsel were not ineffective for raising such argument.

        Finally, Defendant contends that Okay was ineffective at sentencing and on appeal

for failing to object to the Court’s application of an enhancement for “leadership role,” under

Sentencing Guideline § 3B1.1(a),11 on grounds of double counting.                       At sentencing, the

Court applied the enhancement, since it found that Defendant was the organizer of the drug

conspiracy, which involved at least Defendant, Pierre, Shallow, Melford, Banner, and

McGregor. Defendant argues that such enhancement amounted to “double counting,” since

21 U.S.C. § 861, of which he was convicted of violating under Count Three of the Second

Superceding Indictment, “already encompasses the concept of leadership.” § 2255 Motion

at 36. The Court disagrees. “[D]ouble counting is permissible in calculating a Guidelines

sentence where . . . each of the multiple Guidelines sections applicable to a single act

serves a distinct purpose or represents a discrete harm.” U.S. v. Maloney, 406 F.3d 149,

153 (2d Cir. 2005). Here, even assuming arguendo that Defendant’s conviction under 21

U.S.C. § 861(a)(1) and the application of USSG § 3B1.1(a) arise from the same “single act,”

the § 861(a)(1) conviction is applicable because Defendant used a minor, W inston Banner,

to sell drugs, while the § 3B1.1(a) enhancement applies because Defendant was the leader




        11
           § 3B1.1(a) states: “If the defendant was an organizer or leader of a crim inal activity that
involved five or m ore participants or was otherwise extensive, increase by 4 levels.”

                                                      15
     Case 6:99-cr-06089-CJS         Document 208       Filed 03/24/11     Page 16 of 16



of a criminal activity that involved at least five participants, regardless of their age.

Additionally, at least one Circuit Court of Appeals has upheld the application of § 3B1.1

enhancement to a defendant convicted under 21 U.S.C. § 861(a)(1). See, U.S. v. Olson,

No. 06-30042, 241 Fed.Appx. 369, 2007 W L 1991131 (9th Cir. Jul. 6, 2007) (unpublished);

see also, U.S. v. Cordoba-Murgas, 233 F.3d 704, 706-707 (2d Cir. 2000) (the Circuit Court

expressed no concern over the fact that the defendant received enhancements under

U.S.S.G. § § 2D1.2(a)(2) and 3B1.1(a), but vacated on other grounds). Accordingly, the

Court finds that counsel were not ineffective for failing to raise Defendant’s “double

counting” argument.

                                       CONCLUSION

         For the foregoing reasons, Defendant’s application under 28 U.S.C. § 2555 [#184] is

denied. The Clerk of the Court is directed to close this case. Pursuant to 28 U.S.C. § 2253,

the Court declines to issue a certificate of appealability, since Defendant has not made a

substantial showing of the denial of a constitutional right.

         So Ordered.

Dated:         Rochester, New York
               March 23, 2011
                                           ENTER:


                                           /s/ Charles J. Siragusa
                                           CHARLES J. SIRAGUSA
                                           United States District Judge




                                              16
